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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 ZANE CAGLE, individually, and in a                )
 representative capacity for all persons           )
 identified by RSMO 537.080,                       )
                                                   )
                Plaintiff-Appellee,                )
                                                   )      Case No.: 4:21-cv-01431-RLW
 v.                                                )
                                                   )
 NHC HEALTHCARE-MARYLAND                           )
 HEIGHTS, LLC, et al.                              )
                                                   )
                Defendants-Appellants.             )


                                ENTRY OF APPEARANCE

       On behalf of Defendants NHC HealthCare-Maryland Heights, LLC; NHC/OP, L.P.;
NHC/Delaware, Inc.; and National HealthCare Corporation (Delaware), Timothy C. Sansone of
Sandberg Phoenix & von Gontard P.C. enters his appearance in this matter.
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                                             NHC/OP, LP.; NHC/Delaware, Inc.; and
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                                     Certificate of Service
       I certify that on the 16th day of August 2022, this document was filed electronically with
the Clerk of the Court, to be served by operation of the Court’s electronic filing system upon the
following:

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